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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

WADE ROBINSON                       )
                                    )
            Plaintiff,              )
                                    )
vs.                                 )               Civil No. 16-2138
                                    )
WICHITA STATE UNIVERSITY, et al., )
                                    )
            Defendants.             )
___________________________________ )

                                       Notice of Service

       Defendants Wichita State University and Dr. John Bardo notify the Court that on June 21,

2018, they served Defendants’ Rule 26(A)(1) Disclosures upon Plaintiff’s counsel via email.

                                             Respectfully submitted,

                                             By: /s/ Boyd A. Byers
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                                              and

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                                     Certificate of Service
       I hereby certify that on June 22, 2018, I electronically filed the above and foregoing with

the clerk of the court by using the CM/ECF system which will send a notice of electronic filing

to counsel of record.


                                              /s/ Boyd A. Byers
                                               Boyd A. Byers, #16253




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